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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

       v.                                        Case No. 1:21-cr-00177-CRC

 DANIEL DEAN EGTVEDT

            Defendant.

    NOTICE OF GOVERNMENT’S POSITION REGARDING APPLICATION FOR
      ACCESS TO TRIAL EXHIBITS MADE BY THIRD-PARTY APPLICANTS

       The United States of America, by and through the United States Attorney for the District

of Columbia, and as directed by the Court in its minute Order issued May 30, 2023, hereby

provides notice that it does not oppose the Application for Access to Trial Exhibits made by

third-party applicants (ECF no. 136).

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY

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